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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11

    AGSPRING, LLC, et al.,1                                Case No. 23-bk-10699 (CTG)

              Debtors.                                     Jointly Administered


               DECLARATION OF SAMUEL R. MAIZEL IN SUPPORT
    OF APPLICATION PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE,
      RULE 2014 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND
        LOCAL RULE 2014-1 FOR AUTHORIZATION TO EMPLOY AND RETAIN
                DENTONS US LLP AS COUNSEL FOR THE DEBTORS
       AND DEBTORS IN POSSESSION EFFECTIVE AS OF THE PETITION DATE

             I, SAMUEL R. MAIZEL, ESQUIRE, declare under penalty of perjury as follows:

             1.    I am a partner in the law firm of Dentons US LLP (“Dentons US” or the “Firm”),

located at 601 S. Figueroa Street #2500, Los Angeles, CA 90017, and have been duly admitted to

practice law in the Commonwealth of Pennsylvania and the State of California and the United

States District Court for the Central District of California. This Declaration is submitted in support

of the Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal

Rules of Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ and Retain

Dentons US LLP as Counsel for the Debtors and Debtors in Possession Effective as of the Petition

Date (the “Application”), which is being submitted concurrently herewith.2

             2.    The Debtors have and will retain various professionals during the pendency of these

cases, including (a) Pachulski Stang Ziehl & Jones LLP as bankruptcy co-counsel; and (b) Meru

LLC to provide Kyle Sturgeon as Chief Restructuring Officer and any additional needed support



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
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  Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.
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personnel. The Debtors may retain other professionals after the Petition Date. Dentons US has

previously worked and will continue to work with these referenced professionals on various

unrelated representations, at times representing the same parties and at other times representing

parties with similar interests or parties with adverse interests.

        3.      Dentons US, which is a limited law partnership, may represent or has represented

bankruptcy committees whose members may be creditors in the Debtors’ chapter 11 cases.

However, Dentons US is not representing any of those entities in these cases and will not represent

any members of the committees it currently represents in any claims that they may have

collectively or individually against the Debtors.

        4.      Dentons US is a “disinterested person” as that term is defined in section 101(14) of

title 11 of the United States Code (the “Bankruptcy Code”) in that Dentons US, its partners, of

counsel and associates:

               a.         are not creditors, equity security holders or insiders of the Debtors;

               b.         are not and were not, within 2 years before the date of the filing of the
                          petition, a director, officer or employee of the Debtors; and

               c.         do not have an interest materially adverse to the interest of the estates or of
                          any class of creditors or equity security holders, by reason of any direct or
                          indirect relationship to, connection with, or interest in, the Debtors, or for
                          any other reason.

        5.      To the best of my knowledge, neither I, nor any partner, of counsel, or associate of

Dentons US, insofar as I have been able to ascertain, has any connection with the U.S. Trustee or

any person employed in the office of the U.S. Trustee or any Bankruptcy Judge currently serving

on the United States Bankruptcy Court for the District of Delaware.

        6.      Dentons US has received payments from the Debtors prior to the Petition Date in

the amount of $358,072.06, in connection with the preparation of initial documents and the

prepetition representation of the Debtors. Dentons US is current as of the Petition Date but has not

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yet completed a final reconciliation as of the Petition Date. Upon final reconciliation of the amount

actually expended prepetition, any balance remaining from the payments to Dentons US will be

credited to the Debtors and continue to be utilized as Dentons US’s retainer to apply to postpetition

fees and expenses pursuant to the compensation procedures approved by this Court.

        7.      Bankruptcy Rule 2014 requires that an application for employment under section

327 disclose all connections with the Debtors, the estates, the professionals and the Office of the

Trustee. The Firm, therefore, discloses its known connections herein.

        8.      Prior to the filing of the Debtors’ chapter 11 cases, Dentons US represented the

Debtors’ affiliates in the Agspring Mississippi Region, LLC, et.al. bankruptcy case. See Case No.

21-11238 (CTG) (Bankr. D. Del. Sept. 10, 2021).

        9.      The Firm is a global legal practice providing client services worldwide through its

member firms. The Firm and certain of its partners, of counsel and associates may have in the past

represented and may currently represent and likely in the future will represent, creditors of the

Debtors in connection with matters unrelated to the Debtors and these cases. At this time, the Firm

is not aware of any other adverse interest or other connection with the Debtors, their creditors, the

U.S. Trustee or any party-in-interest herein in the matters upon which Dentons US is to be retained.

Upon further and continuing review of lists of all creditors and interested parties, the Firm will

make any further disclosures as may be appropriate.

        10.     Dentons US intends to apply for compensation for professional services rendered

in connection with these chapter 11 cases, subject to approval of this Court and in compliance with

applicable provisions of the Bankruptcy Code, on an hourly basis, plus reimbursement of actual,

necessary expenses and other charges incurred by the Firm. The current standard hourly rates of

Dentons US’s professionals are:



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                          a.   Partners                $765.00 to $1,240.00
                          b.   Of Counsel              $690.00 to $1,205.00
                          c.   Associates              $605.00 to $725.00

                          d.   Paralegals              $345.00 to $370.00

        11.     The hourly rates set forth above are the Firm’s standard hourly rates for work of

this nature and are subject to periodic adjustment. These rates are set at a level designed to fairly

compensate the Firm for the work of its attorneys and paralegals and to cover fixed and routine

overhead expenses. It is the Firm’s policy to charge its clients in all areas of practice for all other

expenses incurred in connection with the clients’ cases. The expenses charged to clients include,

among other things, conference call and telecopier toll and other charges, mail and express mail

charges, special or hand delivery charges, document retrieval charges, color photocopying charges,

provided by the Firm to outside copying services for use in mass mailings, travel expenses,

expenses for “working meals,” computerized research, transcription costs, as well as non-ordinary

overhead expenses such as secretarial and other overtime. The Firm will charge the Debtors for

these expenses in a manner and at rates consistent with charges made generally to the Firm’s other

clients and in compliance with this Court’s rules. The Firm believes that it is fairer to charge these

expenses to the clients that incurred them rather than spread the expenses among all clients.

        12.     No promises have been received by the Firm or by any partner, of counsel or

associate thereof as to compensation in connection with these cases other than in accordance with

the provisions of the Bankruptcy Code. The Firm has no agreement with any other entity to share

with such entity any compensation received by the Firm in connection with these chapter 11 cases,

except among the partners, of counsel and associates of the Firm.




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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: July 28, 2023                                 /s/ Samuel R. Maizel
                                                     Samuel R. Maizel
                                                     Dentons US LLP




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